      Case 1:16-cv-07673-RA             Document 4-2        Filed 10/03/16        Page 1 of 2



              DECLARATION IN SUPPORT OF PLAINTIFF'S REQUEST FOR PROTECTIVE ORDER



I, Tiffany Doe, a pseudonym, state as follows:



1.      I am a competent adult over 18 years of age able to\testify as to personal knowledge. The facts

in this declaration are true and correct to the best of my knowledge, information, and belief, and I am

competent to testify to them if called upon to do so.

2.      I originally met Jeffrey E. Epstein in New York City in 1990 when I was the age of 22. I attended a

series of parties in that same year of 1990 where I was paid to entertain various guests of Mr. Epstein.

3.      In the year 1991, I was promoted to the occupation of party planner in which my duties were to

get attractive adolescent women to attend these parties.

4.      I was hired by and paid directly by Mr. Epstein from the years of 1991-2000 to attract adolescent

women to attend these parties, most of which were held at what is known as the Wexner Mansion

located at 9 E. 71st St. in New York City.

5.      In June, 1994 while performing my duties as a recruiter of adolescent women to attend Mr.

Epstein's parties, I met a 13-year-old adolescent woman, the Plaintiff in this matter, at the Port

Authority in New York City who said that she had come to New York City in the hope of starting a

modeling career.

6.      I persuaded the Plaintiff to attend a series of parties of Mr. Epstein that took place during the

summer of 1994. I told her that, if she would join me at the parties, she would be introduced to people

who could get her into the modeling profession and she would be paid for attending.

7.      It was at these series of parties that I personally witnessed the Plaintiff being forced to perform

various sexual acts with Donald J. Trump and Mr. Epstein. Both Mr. Trump and Mr. Epstein were

advised that she was 13 years old.

8.      I personally witnessed four sexual encounters that the Plaintiff was forced to have with Mr.

Trump during this period, including the fourth of these encounters where Mr. Trump forcibly raped her

despite her pleas to stop.
      Case 1:16-cv-07673-RA             Document 4-2          Filed 10/03/16       Page 2 of 2



9.      I personally witnessed the one occasion where Mr. Trump forced the Plaintiff and a 12-year-old

female named Maria perform oral sex on Mr. Trump and witnessed his physical abuse of both minors

when they finished the act.

10.     I personally witnessed or was made immediately aware of the two occasions where my boss Mr.

Epstein attempted to rape and sodomize the Plaintiff. I pers\,nally witnessed Mr. Epstein sexually and

physically abuse other minor females even younger than her.

11.     It was my job to personally witness and supervise encounters between the underage girls that

Mr. Epstein hired and his guests.

12.     I personally witnessed Mr. Trump physically threaten the life and well-being of the Plaintiff if she

ever revealed any details of the physical and sexual abuse suffered by her at the hands of Mr. Trump.

13.     I personally witnessed Mr. Epstein physically threaten the life and well-being of the Plaintiff if

she ever revealed the details of the physical and sexual abuse she suffered at the hands of Mr. Epstein

or any of his guests.

14.     I personally witnessed Defendant Trump telling the Plaintiff that she shouldn't ever say anything

if she didn't want to disappear like the 12-year-old female Maria, and that he was capable of having her

whole family killed.

15.     After leaving the employment of Mr. Epstein in the year 2000, I was personally threatened by

Mr. Epstein that I would be killed and my family killed as well if I ever disclosed any of the physical and

sexual abuse of minor females that I had personally witnessed by Mr. Epstein or any of his guests.

16.     I am coming forward to swear to the truthfulness of the physical and sexual abuse that I

personally witnessed of minor females at the hands of Mr. Trump and Mr. Epstein, including the

Plaintiff, during the time of my employment from the years of 1990-2000 for Mr. Epstein. I swear to

these facts under penalty of perjury even though I fully understand that the life of myself and my family

is now in grave danger.




I declare under penalty of perjury that the foregoing is true and



DATED: June 18, 2016




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